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Flamm Walton vc

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August 31, 2011

Hon. Jerome B. Simandle

Mitchell H. Cohen U.S. Courthouse
One John F. Gerry Plaza

4th & Cooper, Room 6101

Camden Nj 08101-0888

Re: City Select Auto Sales, Inc. v. David Randall Associates, Inc., et al.
Civil Action No: 1:11-CV-02658-]BS-KMW

Dear Judge Simandle:

| represent the Defendants in the above case, in which the Plaintiff alleges
that they caused two unsolicited faxes to be sent to its facilities in violation of the
Telephone Consumer Protection Act. It additionally alleges, “on information and
belief’, that the Defendants caused an unspecified number of unsolicited faxes to
be sent to an unidentified number of similarly situated entities or persons without
prior permission. The Complaint was served on August Ist. The Defendants filed a
Motion to Dismiss, which the Court has scheduled for determination on the papers
on September 19, 2011.

At the same time the Complaint was filed, counsel for the Plaintiff filed a
Motion for Class Certification. The return date for that Motion is also September
19, 2011. I respectfully submit that the Class Certification Mation is indisputably
premature, and I request that it be stayed in the interest of judicial economy. If the
Court grants the Motion to Dismiss, the Class Certification Motion will be moot, but
under any circumstances a great deal of discovery would clearly be required prior
to considering the Plaintiff’s class certification request.

If Your Honor prefers that this request be made in the form of a formal
motion or a filed response to the Defendants’ Class Certification Motion, please let

me know.
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Hon. Jerome B. Simandle
August 31, 2011
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Sincerely,
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F, EMMETT FITZPAFRICK, II

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cc: Alan Milstein, Esq.
